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ABC News                     Globe and Mail              Die Welt
Agence France-Presse         GQ                          The Telegraph
Agencia EFE
American Family Radio
Al Jazeera
                             The Guardian
                             Haaretz
                             Hearst
                                                         Televisa
                                                         TIME Magazine
                                                         TMZ
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Al-Monitor
Anadolu News Agency
Agenzia ANSA
                             The Hill
                             Hot Air
                             Huffington Post
                                                         Tokyo Broadcasting System
                                                         Townhall
                                                         Talking Points Memo
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Associated Press
Ars Technica
                             ITV News
                             Jigsaw
                                                         Television New Zealand
                                                         Univision
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The Atlantic
Australian Broadcasting
Axios
                             Just Security
                             KyodoNews
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                                                         U.S. News & World Report
                                                         USA Today
                                                         Vanity Fair
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BBC
Bloomberg
BNA
                             Las Vegas Review Journal
                             Law360
                             Law and Crime
                                                         Vice
                                                         Voice of America
                                                         Volante
                                                                                     I
Boston Globe
Breitbart
                             Life News
                             The London Times
                                                         Vox
                                                         The Wall Street Journal     I
Bustle
BuzzFeed
Canadian Broadcasting
                             Los Angeles Times
                             McClatchy
                             Mic
                                                         Washington Examiner
                                                         Washington Post
                                                         Washington Times
                                                                                     I
Corporation
CBS News
Cheddar
                             MLex
                             Mother Jones
                             MSNBC
                                                         WETA
                                                         WINK News
                                                         WNYC
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Chicago Tribune
Chicago Sun Times
CNBC
                             National Law Journal
                             NBC News
                             New Yorker
                                                         WTOP
                                                         Yahoo News
                                                         Zweites Deutsches
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CNN                          The New Republic            Fernsehen
Courthouse News Service      Newsday                     WAMU.org
Corporate Crime Reporter
Cox
CQ Roll Call
                             Newsweek
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                             NHK World Japan
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Christian Science Monitor
C-SPAN .
Daily Beast
                             NPR
                             New York Post
                             New York Sun
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Daily Caller
Daily Mail
Daily Signal
                             New York Daily News
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Dallas Morning News
Deutsche Presse-Agentur
El Pais
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Epoch Times                  ProPublica
Feature Story                 Quartz
Financial Times
Foreign Policy
Foresight News
                             Real Clear Politics
                             Reuters
                              Rolling Stone
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FoxNews
Free Beacon
Global News
                              Sinclair Broadcast Group
                              Spectrum News
                              Sputnik International
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